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4PPSEFSFE5IFSFXJMMCFOPGVSUIFSFYUFOTJPOT SFHBSEMFTTPG
XIFUIFSPSOPUUIFUIJSEQBSUZEFGFOEBOUTBSFTFSWFEPSQMFBEFE BOE
SFHBSEMFTTPGBOZNPUJPOTUIFZNJHIUNBLF%JTDPWFSZNVTUCF
DPNQMFUFECZ+VOF 5IFTUBUVTDPOGFSFODFQSFWJPVTMZ
TDIFEVMFEUPCFIFMEPO+VMZ  JTSFTDIFEVMFEUP+VOF 
 BUBN
T)PO"MWJO,)FMMFSTUFJO 64%+
.BZ 
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